                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

                                                  )
                                                  )
                                                  )
IN RE: NISSAN NORTH AMERICA,                      )        NO. 3:19-cv-00843
INC. LITIGATION                                   )
                                                  )        JUDGE CAMPBELL
                                                  )        MAGISTRATE JUDGE FRENSLEY
                                                  )


                                            ORDER

       Pending before the Court is a Notice of Voluntary Dismissal by the Plaintiffs as to Plaintiff

Cathy Bashaw (Doc. No. 112). The Plaintiffs cite Fed. R. Civ. P. 41, but that rule applies to the

dismissal of actions, not only some claims or parties. The Court construes the Motion as a motion

to nonsuit Plaintiff Bashaw’s claims and thereby be removed from this action. Accordingly,

pursuant to Fed. R. Civ. P. 21, the Court DISMISSES Plaintiff Cathy Bashaw from this action.

       It is so ORDERED.

                                                      ____________________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      UNITED STATES DISTRICT JUDGE




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